
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date November 18, 1965.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law. The petition is therefore denied.
It is further ordered that the respondent’s request for allowance of attorneys’ fees, be and the same is granted in the amount of $250.00.
It is so ordered.
ROBERTS, Acting C. J., and DREW, O’CONNELL, CALDWELL and ERVIN, JJ., concur.
